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                           UNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT O F FLO RIDA
                     CASE NO.II-I4OS4-CR-MARTINEZ/LYNCHISIIS)
  UNITED STATES OF AM ERICA,
        Plaintiff,
                                                                    FILED hy            D.C.
  V.

  SAIL E.MARTINEZ,
                                                                       DE2 l3 2211
        Defendant.
                                  /                                    SIEVEN M LARIMORE
                                                                        cuEqKub.DlqmcT.
                                                                      s.D.ofrFL/.-n.PIERCE
                  REPO RT AND RECOM MENDATION O N DEFENDANT'S
                     MOTION TO SUPPRESS STATEMENT (D.E.#69)
        THIS CAUSE having come on to be heard uponthe aforem entioned m otion and this
  Coud having reviewed the m otion,the governm ent's response,and having conducted an
  evidentiary hearing on Decem ber9,2011,m akes the following recom m endation to the
  DistrictCoud:

               The Defendant's m otion is fairly succinct. It alleges that any post-arrest
  statem ents m ade by him should be suppressed because S'Prior to the reading of the
  defendants M iranda rights,the defendantwas spoken to by a m an w i
                                                                    th a beard who told
  him thathe would be beaten up to the extentthathe would rem em berthe beating forthe
  restofhis Iife unless he spoke to them ,abouthisarrest.Atthe sam e tim e,thisagentflexed
  his arm before he read the defendanthis M iranda rights.'' This is the sum and substance
  ofthe Defendant's m otion.
        2.     The firstwitness called by the governm entwas Agent Thom asofHom eland
  Security lnvestigations. He is the case agentin this m atter. On oraboutSeptem ber2,

  2011,his agency received information from a confidentialinformant(CI)concerning a
  planned robberyofm oneycouriers in Fod Pierce,Florida.The CIinform edAgentThom as
  thathe had been approached by som eone he believed to be an illegalalien to have the Cl
  com m itan arm ed robbery of som e m oney couriers in Fort Pierce,Florida. Once this
  inform ation was received,recorded telephone conversations were m onitored between the
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   C1and co-defendantG eovaniSales. There were overfourtelephone conversations in all
   which were recorded betw een these padies on Septem ber2,2011.
                O n Septem ber 2,2011,this Defendantalong with his two co-defendants
   named in this Indictm entpicked up the CIin W est Palm Beach,Florida,and discussed
   com m itting the arm ed robberyofthe m oney couriers in Fod Pierce.AIIfourindividuals then
   drove to Iook atthe store in Fod Pierce where the robbery would take place. They also
   drove to a M cDonald's in the O rlando area w here a sim ilarrobbery was to take place as
   well. AgentThom as identified the Defendantin courtas one ofthe individuals involved in
   these discussions with the CI.

         4.     The CItold AgentThom as thatthe Defendantwas illegall
                                                                    y in the United
   States and participated in discussionsconcerning the com m ission ofthe intended robbery
   ofthe m oney couriers. Co-defendant Sales asked the CIto get som eone to help him
   com m itthe robbery.

         5.     On oraboutSeptem ber9,2O11,the CIm etwith the Defendantand both co-
   defendants in W estPalm Beach and then drove to the FortPierce area to m eetthe second
   arm ed robberto discuss the robbery fudher. They were to meetata Circle K store on
   Delaware Avenue in FortPierce. In this instance,the person they were to m eetas the

   second robberwas actually an undercoverofficer(UCO). AIIofthe conversations were
   taking place within the vehicle in w hich the Defendant,the co-defendants and the CIwere
   traveling and were being m onitored by Agent Thom as and other agents.W hile Agent
   Thom asadm itted he is notfluentin Spanish,he stated thatthe otheragents m onitoring the
   conversations did understand Spanish. Based upon the m onitored conversations,Agent
   Thom as believed thatthe Defendantand his co-defendants had a firearm in the vehicle.
   The firearm was to be turned overto the UCO to com m itthe arm ed robbery.
         6.     AgentThomas stated the UCO was instructed to walk into the Circle K store
   afterthe meeting with the Defendantand others had concluded. Thiswould be the signal
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  thatthe discussions ofthe robbery had been com pleted and the Iaw enforcem entofficers
  on surveillance would m ove in to take the Defendantand co-defendants into custody.
               AgentThom as setup surveillance across the streetfrom the Circle K store
  on Delaware Avenue in Fod Piercewhere he was observing the store from a vacantIot.He

  saw a white Tahoe arrive which contained the CI,the Defendant,and the co-defendants.
  He was aware ofthis vehicle since he followed itto the FortPierce area from W estPalm
  Beach. AgentThom as observed aIIthe occupants ofthe Tahoe getoutand shake hands
  w ith the UCO . This m eeting w as m onitored and recorded.AIIofthe individuals were
  overheard discussing the armed robbery.
        8.        The Defendantand his co-defendants also discussed going to Orlando to
  com m itan arm ed robberysim ilarto the one they intended to com m itin FortPierce. Itwas
  about this tim e that the UCO m ade a m otion as if he w as tucking a firearm into his
  waistband and then walked into the Circle K store. This was the signalto arrest the
  Defendantand co-defendants.AgentThomas testified thatthe firearm had been obtained
  from the interiorofthe white Tahoe and given to the UCO by the Defendantand his co-
  defendants. Once this signalwas given,the Defendantand the co-defendants were taken

  into custody.
        9.        The Defendantwas arrested byAgentG oodwin.AgentThom aswentacross
  the streetto the Circle K store.The Defendantwassearched and then turned overtoAgent
  Lam pkins. Since the Circle K store was open and doing business atthattime,aIIofthe
  individuals were m oved across the streetfrom the Circle K store to an area where they
  could be processed fudherwithoutinterfering with the store's patrons.
        10.    AgentThom asobserved AgentEscobarofHom eland Security Investigations
  interviewing the Defendantin the back ofa governm entvehicle atthe scene across the
  streetfrom where the arresttook place. At no tim e did AgentThomas observe anyone
  threaten the Defendantorprom ise the Defendantanything.
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        11.    G overnmentExhibitNo.1 adm itted into evidence are copies ofphotographs
  ofthe Tahoe vehicle atthe scene togetherwith the photo ofthe tag ofthe vehicle. This
  photo was taken by AgentThom as on Septem ber9,2011. Governm entExhibitNo.2 in
  evidence is a copy oftwo photographs taken by AgentThom as on Septem ber9,2011 of
  the Defendantin the backofthe governmentvehicle being interviewed by AgentEscobar.
  Finally,GovernmentExhibitNo.3 are copies oftwo photographs ofthe firearm w hich was
  seized by the agents upon the arrest of the Defendanton Septem ber 9,2O11. These
  photographs were taken by AgentThom as as well.
        12.    Agent Thom as testi
                                 fied thatthe only agents who he believes cam e into

  contactwith the Defendantotherthan him selfwere AgentG oodwin,AgentEscobar,Agent
  G uinad,and AgentMoran. AgentThom as stated thathe believes aIIofthose agents are
  fluentin Spanish exceptforhim selfand AgentGoodwin. Further,since the Defendant's
  m otion alleges that som eone with a beard had threatened him ,there was testim ony
  concerning facialhair. AgentThom as testi
                                          fied that he believes Agent Escobar,Agent
  G uinad,and AgentM oran aIIhad som e sod offacialhair,although he stated thathe does
  notactuallypayattentionto S'the groom ing habitsofotheragents.''AgentThom asappeared
  in coud to have a goatee.
        13.    AgentThom astestified thathewasnotpresentwhenthe Defendantwas read
  his M iranda rights norwas he presentwhen the Defendantm ade any statem ents to Iaw
  enforcem ent. Agents Escobarand Guinad were the individuals who signed the Miranda
  form w hich w as adm itted into evidence as Defendant's ExhibitNo.1. Since he was not
  presentforthe execution ofthatform ,AgentThom as could nottestify as to who signed or
  ini
    tialed any ofthe areas on thatform .AgentThom as stated thathe believed the Miranda

  form was notread to the Defendant by the otheragents untilthe Defendant had been
  m oved across the streetfrom the Circle K store w hich was between 11:45 a.m .and 12:00
  p.m .on Septem ber9,2011.
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         14.   The nextw i
                         tnesscalled bythe governmentwas AgentEscobar. He testified
  thaton Septem ber9,2011 he first m ade contactw ith the Defendantatthe parking Iot

  adjacenttotheCircle K storeon DelawareAvenue in FortPierce.AgentLampkinsturned
  overcustody ofthe Defendantto AgentEscobar.AgentEscobaridentified the Defendant
  in coud as the individualhe knows to be SailEm iliano Madinez and with w hom he had

  contactin this case.

         15.   AgentEscobarinitially interviewed the Defendantin the parking Iotand read
  the Defendanthis M iranda rights from a Spanish Miranda form before speaking with the
  Defendant. AgentEscobarreviewed Defendant's ExhibitNo.1 in evidence and identified
  thatasthe sam e SpanishM iranda form which he readto the DefendantIine-by-line.He had
  the Defendantsign and/orinitialcedain portions ofthis form .

         16.   Agent Escobarstated that he read each Iine ofthe M iranda form to the
  Defendantin Spanish.He then askedthe Defendantifhe understoodthose rightsatthe end
  ofeach Iine. He stated thatthe Defendantacknow ledged orally thathe understood those
  rights and initialed each Iine verifying thathe understood each rightas requested byAgent
  Escobar. Atthe bottom ofthe Miranda form ,the Defendantwas asked to sign the form
  acknow ledging thathe understood his rights,waswaiving his rights and agreeing to speak
  w ithAgentEscobar. The Defendanttold AgentEscobarin Spanish thathe could notw rite
  very well. Therefore,AgentEscobardirected him to sim ply m ake his m ark w hich he did
  w ith m ultiple $'x's''on the bottom ofthe page. The Defendantalso wrote the name '$SaiI''.
  AgentEscobaralso requested the Defendanttoplace a fingerprintonthe rightcornerw hich
  was done as well. AIIofthis was com pleted in the governm entvehicle in the parking Iot.
  Agent G uinad was present at thattim e and acknowledged as being a witness on the
  M iranda form ,Defendant's ExhibitNo.1.
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         17.   At this hearing,Agent Escobar translated the Spanish M iranda form into

  English.Hisrecitationandtherijhtssetfodhonthatform appeartothisCourttocomply
  w ith the rights required underM iranda and the applicable case Iaw .
         18.   AgentEscobartestified thatnotonly did the DefendantIisten to whatAgent
  Escobarwas reading to him in Spanish,butthatthe Defendantactually had the form in his
  hands and was reading it as w ell.Agent Escobar does not know whether or not the
  Defendantwas able to read each word.However,AgentEscobarstatedthatthe Defendant
  did appearto be reading the form as AgentEscobarorally read each ofthose rights to the
  Defendantin Spanish. Itwas aftereach ofthese rights thatAgentEscobarasked forthe
  Defendantto respond as to w hetherornothe understood each right.The Defendantorally
  stated thathe did understand each rightand initialed aftereach Iine as requested byAgent
  Escobar.
         19.   AgentEscobarstatedthathe did nothave a beard oranysignificantfacialhair
  on Septem ber9,2011. He appeared to have a Iightbeard and m ustache in courtatthis
  hearing.Agent Escobar stated that neither he nor any other person in his presence
  threatened the Defendant in any way nordid anyone 'flex''theirarm s in a threatening
  m annertothe Defendant.The Defendantwasnotprom ised anything byAgentEscobarnor
  by any otheragents in his presence.AgentEscobardoes notbelieve thatthere were any
  otheragents alone with the Defendantatany tim e afterthe Defendantwas taken from the
  parking Iotacross from the Circle K store untilthe tim e when the Defendant's statements
  were actually concluded atthe Hom eland Security Investigations offices around 3:00 p.m .
  thatsam e day.
         20,   Agent Escobar estim ated that his interview of the Defendant began at
  approxim ately 12:30 p.m .in the parking Iot area across from the Circle K store. The
  Defendant was then taken to the Homeland Security offices w here he arrived at
  approxim ately 1:30 p.m .thatsam e day. The Defendantwas placed in a holding celland
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  the interview was resum ed by AgentEscobaratapproxim ately 2:00 p.m . AgentEscobar
  stated thatatno tim e did anyone else have any contactw ith the Defendantoutside ofhis

  Presence.
        21.    The Defendantneverrequested to stop talking nordid he everrequestto

  speakwith anattorney.No threatsorprom iseswere made byAgentEscobarnorany other
  agentin his presence atthe Hom eland Security office.The Defendantdid notappearto be
  underthe influence of any drugs oralcohol. The Defendantseem ed Iucid according to
  AgentEscobar.The Defendantnevertold AgentEscobarthatanyone else had threatened
  him .In fact,the Defendantwas handcuffed in frontto m ake him m ore com fodable.Agent
  Escobarrecalls thatthe Defendantwas fully cooperati
                                                    ve throughoutthe interview process

  w hich concluded at3:00 p.m .thatsam e day.
        22.    Agent Escobar has no reason to believe that the Defendant did not
  understand each ofhis rights read to him from the Spanish M iranda form ,Defendant's
  ExhibitNo.1. AgentEscobarexplained to the Defendantby signing the form ,m aking his
  m ark,and acknowledging on the bottom ofthe form ,thatthe Defendantwas waiving his
  rightsw hich had previously been read to him and was agreeing to m ake a statem entto Iaw
  enforcement. AgentEscobarstated thatthe Defendantkeptreiterating thathe wished to

  cooperate.
        23.    AgentEscobardid notre-read the Miranda form noradvise the Defendantof
  his Miranda rights again when the interview continued at 2:00 p.m .at the Hom eland
  Security Investigationsoffices.W henthe interview did resum e at2:00 p.m .,AgentEscobar
  told the Defendantthathe believed the inform ationthe Defendanthad previously given him
  was notcom pletely truthfuland thatitwas illegalto give false inform ation to a federal
  officer. ln response,the Defendantstated thatthe inform ation was parttruthfuland he
  agreed to continue the interview.AgentEscobarstated thatatno time did the Defendant

  ask foranything exceptm aybe water,w hich was provided to him .
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        24.    Atthe conclusion ofAgentEscobar's testim ony,counselforthe governm ent
  announced thatthere were otheragents presentto testifyshould the Defendantwish to call
  them aswitnesses. However,the governmentrested withoutcalling anyfudherw itnesses.
  Counselforthe Defendantannounced thatthe Defendantwould notpresentanywitnesses

  orevidence atthe hearing.
        25.    Counselforthe Defendantargued thatin addition to the allegation thatthe
  Defendantwasthreatened by an agent,the Defendant should have been re-advised ofhis
  M iranda rights before the second interview began atthe Hom eland Security offices at2:00
  p.m . Counselforthe Defendantargued thatonce AgentEscobartold the Defendantthat
  he could be charged with a crim e for giving a false statement to a federalofficer,the
  Defendantwas entitled to be re-advised ofhis M iranda rights.
                                                       -




        26.    In response,counselforthe governm entargued thatthere is no case Iaw
  requiring a re-advising ofM iranda by the sam e agenttaking a statem entfrom the sam e
  defendanton thesame daywithonlyan hourand a halfintervening betweenthe conclusion
  ofthe one interview and the resum ption ofthe second interview .


                                         ANALYSIS
               ThisCoudfindsthatthe Defendantw asadvisedofhis Miranda rightsproperl
                                                                                  y
  by AgentEscobarand this advice ofrights was done in the Defendant's native language
  being Spanish. Fudher,the totality ofthe evidence presented reveals thatthe rightswere
  read individuall
                 y by AgentEscobarand atthe end ofeach right,the Defendantwas asked
  to acknowledge thathe understood those rights.The Defendantorally stated thathe did
  understand each rightand initialed the form aftereach rightto fudher acknowledge his
  understanding. AgentEscobarm eticulously m ade certain thatthe Defendantunderstood
  each rightand the entire Spanish M iranda form atthe conclusion ofreading the form to the
  Defendant. The Defendantwas also afforded the oppodunity to read and review the
                                             8
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   Spanish M iranda form him self which he appeared to do according to Agent Escobar.
   Finall
        y,the Defendantsigned the form on the bottom and placed his fingerprintthere in
   acknowledgmentthathe understood aIIofhis rightsand waswaiving those rightsaccording
   to the testim ony ofAgentEscobar. Therefore,this Courtfinds thatthe Defendant'swaiver
   ofhis rights wasvoluntary and was the productofa free and deliberate choice ratherthan
   any intimidation,coercion,ordeception. United Statesv.Tover274 Fed.Appx.844 (11th
   Cir.2008).
         28.    Thegovernm enthasestablished bya preponderance ofthe evidencethatthe
   Defendantw ai
               ved hisrights know inglyand voluntarily.There is no evidence ofanythreats,
   prom isesorotheractsofintim idation which affected the Defendant'swaiverofhis M iranda
   rights. The record is com pletely devoid ofany such evidence to supportthe Defendant's
   allegations setfodh in his m otion. Uni
                                         ted Statesv.W right,300 Fed.Appx.627 (11thcir.
   2008)and United Statesv,Harris,151Fed.Appx.882 (11thCir.2005).
         29.    The Defendantfudherargues thatthe agents should have re-advised him of
   his M iranda rights priorto re-initiating the interview at2:00 p.m .atthe Homeland Security
   Investigations offices. The testim ony received by this Coud was thatthe interview atthe
   scene began atabout12:30 p.m .and thatthe Defendantwas transpoded to the Hom eland
   Security Investigations officesw here he arrived atapproxim ately 1:30 p.m .The testim ony

   fudherrevealsthatthe pefendantwas incustodythe entiretime andwasnotcontacted by
   anyotheragents outside ofAgentEscobar's presence.AgentEscobarthen continued the
   interview ofthe Defendantatapproxim ately2:00 p.m .Therefore,itappearsfrom the record
   thatthe intervening tim e period could nothave been Iongerthan an hourand a half.
         30.    Even ifthe Defendanthad been transpoded to the Hom eland Security offices

   at12:30 p.m .,w hich is the tim e thatAgentEscobartestified he began the interview atthe
   scene,there would onlybe an hourand a halfbetween 12:30p.m .when the Defendantwas
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   advised ofhis M iranda rights and 2:00 p.m .when AgentEscobartestified the interview
   continued atthe Hom eland Security Investigations offices.
         31.    ThisCourtfindsthateven a one and one-halfhourintervalbetween his initial
   advice ofMiranda and the continuation ofthe interview by AgentEscobaris notso Iengthy
   so as to Iead the Defendantto believe thathis initialadvice ofMiranda rights in the backof
   the governm entvehicledid notpertaintothe continuation ofthe interview byAgentEscobar
   at2:00 p.m .atthe Hom eland Security Investigations offices. The Defendantpresents no
   case Iaw requiring a re-advice ofMiranda rights undersuch circum stances.
          32.   Finally,this Coud findsthatthe Defendantdid notrequestan attorney atany
   pointsubsequentto being advised ofhis M iranda rights. The Defendantneverrequested
   to stop answering questions being posed by Agent Escobar. In fact,Agent Escobar's
   testim onywas thatthe Defendantcontinually stated thathe wished to cooperate.
         ACCORDING LY,this Coud recom mends to the DistrictCourtthatthe Defendant's

   MotionTo Suppress Statement(D.E.#69)be DENIED.
          The padies shallhave fourteen (14) days from the date of this Repod and
   Recommendationwithinwhichtofileobjections,ifany,wi
                                                    ththeHonorableJoseE.Martinez,
   the United States DistrictJudge assigned to this case.
          oo sE Axo susu lyzEo this .      z-
                                            -
                                            é- dayofoecember,2011,atFortpierce,
   Northern Division ofthe Southern DistrictofFlorida.
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                                                                     .. x




                                                       A    .LYNC ,JR.
                                                   U         TAT S    ISTRATE JUDG E


   Copies furnished:
   Hon.Jose E.Martinez
   AUSA Carm en M .Lineberger
   M ichaelB.Cohen,Esq.
